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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 20-60885-CIV-ALTMAN/Hunt

  BRANDON THOMPSON,

          Plaintiff,
  v.

  FORT LAUDERDALE LAW GROUP
  SOUTH, PLLC,

        Defendant.
  _________________________________________/

                                        ORDER OF REFERRAL

          The parties have filed a Motion to Approve FLSA Settlement Agreement and Dismissal with

  Prejudice (the “Motion”) [ECF No. 63]. This case involves an FLSA Settlement Agreement, which

  the Court must scrutinize to determine whether it is a fair and reasonable resolution of a bona fide

  dispute. See Lynn’s Food Stores, Inc. v. U.S. ex rel. U.S. Dep’t of Labor, 679 F.2d 1350, 1354–55 (11th Cir.

  1982). To resolve this matter justly and efficiently, the Court hereby

          ORDERS AND ADJUDGES that this matter is REFERRED to United States Magistrate

  Judge Patrick M. Hunt for a fairness hearing (if necessary) and a Report and Recommendation on

  any dispositive matters, pursuant to 28 U.S.C. § 636 and Local Magistrate Judge Rule 1.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 18th day of March 2021.




                                                              _________________________________
                                                              ROY K. ALTMAN
                                                              UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
